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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                      :
                                              :
v.                                            :      Crim. No. 3:94cr223 (PCD)
                                              :      Civil No. 3:01cv76 (PCD)
AMADOR RIVERA                                 :

          RULING ON PETITIONER’S MOTION TO SET ASIDE JUDGMENT

       Petitioner moves, pursuant to Federal Rule of Civil Procedure 60(b)(4), to set aside a

“void” judgment for lack of subject matter jurisdiction. For the reasons stated herein, the Court

finds that Petitioner’s Motion to Set Aside Judgment [Doc. No. 2390] is a second or successive

petition and hereby transfers it to the Court of Appeals for possible certification.

I.     BACKGROUND

       The factual and procedural background of this case was set forth in detail in this Court’s

numerous prior Rulings on Defendant’s post-conviction motions, and therefore, the full history

will not be recited herein.

       On July 26, 1996, Petitioner was convicted, following a jury trial, of two counts of

racketeering charges, conspiracy to commit murder, and conspiracy to distribute controlled

substances. Petitioner was sentenced to three concurrent life terms of imprisonment on

December 5, 1996. Petitioner filed a direct appeal and his conviction and sentence were affirmed

on October 5, 1999. Petitioner then filed a petition for writ of habeas corpus pursuant to 28

U.S.C. § 2255, which was denied on April 6, 2001 [Doc. No. 2206]. In a January 15, 2003

Ruling [Doc. No. 2277], the Court modified Petitioner’s sentence pursuant to a pro se motion

which was construed as Motion to Alter or Amend pursuant to Federal Rule of Civil Procedure
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59. Judgment was amended accordingly on January 23, 2003 [Doc. No. 2278], with this Court

imposing a twenty-year term of imprisonment. Petitioner appealed and that appeal was

dismissed on March 20, 2003 [Doc. No. 2286].

       Petitioner has filed several additional motions since that time. On May 2, 2005, this

Court issued a Ruling which, inter alia, denied a Motion for Reconsideration, and construed a

Motion to Amend as a second or successive petition and transferred it to Court of Appeals for

potential certification. (See Ruling on Pending Mots., May 2, 2005, Doc. No. 2315.) On

November 7, 2005, this Court issued a Ruling denying Petitioner’s Motion for Reconsideration

of the May 2, 2005 Ruling. (See Ruling on Mot. Recons., Nov. 7, 2005, Doc. No. 2344.) Most

recently, on December 19, 2006, this Court issued a Ruling transferring a Motion for

Reconsideration to Court of Appeals as second or successive petition. In the motion, Petitioner

requested that this Court make a determination as to his “venire” argument, raised for the first

time in his § 2255 petition, and then transfer the motion to the Court of Appeals. The Court

found that the issue was decided in this Court’s April 6, 2001 Ruling, and need not be decided

again. (See Ruling on Mot. Recons., Dec. 19, 2006, Doc. No. 2389.)

II.    DISCUSSION

       Petitioner now files another motion with this Court, this one captioned as a Motion to Set

Aside the Judgment pursuant to Federal Rule of Civil Procedure 60(b)(4). Essentially, Petitioner

argues in the instant motion that federal courts lack jurisdiction over criminal acts and it was

therefore unconstitutional for this Court to sentence him for any criminal act. (See Pet’r’s Mot.

Set Aside Judg.) Despite Petitioner’s captioning of his motion, it is a second or successive

petition pursuant to 28 U.S.C. § 2255 and should be transferred to the Court of Appeals.


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        When an earlier § 2255 petition was adjudicated on the merits, a subsequent petition is

considered “second or successive.” See Whab v. United States, 408 F.3d 116, 118 (2d Cir. 2005).

Under the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), a “second or

successive” petition for relief under § 2255 may not be filed in a district court unless the

petitioner first obtains the authorization of the court of appeals, certifying that the petition

conforms to specified statutory requirements, i.e., that it contains:

        (1) newly discovered evidence that, if proven and viewed in light of the evidence as
        a whole, would be sufficient to establish by clear and convincing evidence that no
        reasonable factfinder would have found the movant guilty of the offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral review by
        the Supreme Court, that was previously unavailable.

28 U.S.C. § 22551; see also Whab, 408 F.3d at 118 (“The duty of the court of appeals to issue or

deny such certification is commonly described as its ‘gatekeeping’ function.”). When a petitioner

files a second or successive petition without first obtaining authorization from the court of

appeals to do so, as is the case here, the district court must transfer the motion to the Court of

Appeals. See Liriano v. United States, 95 F.3d 119, 123 (2d Cir. 1996) (per curiam).

III.    CONCLUSION

        In accordance with the requirements of 28 U.S.C. § 2255 and pursuant to 28 U.S.C. §

1631, the Clerk is directed to transfer this case to the United States Court of Appeals for the

Second Circuit to enable that court to determine whether the claims raised in this petition [Doc.

No. 2390] should be considered by the district court.



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                “The court of appeals may authorize the filing of a second or successive application only if it
                determines that the application makes a prima facie showing that the application satisfies the
                requirements of this subsection.” 28 U.S.C. § 2244(b)(3)(C).

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 SO ORDERED.

                            Dated at New Haven, Connecticut, August 29 , 2007.



                                                              /s/
                                            Peter C. Dorsey, U.S. District Judge
                                                    United States District Court




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